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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                      )            CASE NO. 4:07CR00603-006
                                               )
       Plaintiff,                              )            JUDGE: JAMES S. GWIN
                                               )
vs.                                            )            ORDER
                                               )
BRIAN GATEWOOD,                                )
                                               )
       Defendant.                              )



       This matter was heard on June 6, 2016 upon the request of the United States Pretrial and

Probation Office for a finding that defendant violated the conditions of supervised release. The

defendant was present and represented by Attorney Jacqueline A. Johnson.

       The violation report was referred to Magistrate Judge Nancy A. Vecchiarelli who issued

a Report and Recommendation on May 17, 2016 [Doc. 269]. No objections having been filed

the Court adopted the Magistrate Judge's Report and Recommendation and found that the

following terms of supervision had been violated:

               1) unauthorized use of drugs;

               2) noncompliance with treatment;

               3) new law violation incurred March 17, 2016.

       The Court found the violations to be Grade C and that defendant was a Criminal History

Category IV. The Court, upon consideration of the 3553(a) factors and statements made by

counsel and the supervising officer, continued the defendant’s supervised release with the
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following additional conditions: 1) the defendant shall successfully complete 4 months of

community control sanction; 2) the defendant shall provide his supervising officer with detailed

reports concerning his job search efforts; and 3) the defendant shall successfully complete

Cognitive Behavior Therapy. While under community control sanction the defendant will only

be released for work, for medical treatment or for religious services.

       The Court admonished the defendant to comply with all conditions of supervised release

and directed the U.S. Probation Office to inform the Court of any further noncompliance.

       IT IS SO ORDERED.




Dated: June 7, 2016                                  s/ James S. Gwin
                                                     JAMES S. GWIN
                                                     UNITED STATES DISTRICT JUDGE
